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                         UNITED STATES DISTRICT COURT
                            DISTRICT OF MINNESOTA

JAMES CARSON & ERIC LUCERO,
                                                   Case No.     ‐cv‐         NEB/TNL
      Plaintiffs,

                    v.
                                                    UNOPPOSED MOTION TO
STEVE SIMON, Secretary of State of the             INTERVENE AS DEFENDANTS
State of Minnesota, in his official
capacity,

      Defendant,

and

ROBERT LAROSE, TERESA MAPLES,
MARY SANSOM, GARY SEVERSON, &
MINNESOTA ALLIANCE FOR RETIRED
AMERICANS EDUCATIONAL FUND,

      Proposed Intervenor‐Defendants.


       Movants Robert LaRose, Teresa Maples, Mary Samson, Gary Severson,

and Minnesota Alliance for Retired Americans Educational Fund hereby move

to intervene as defendants in this case under Federal Rule of Civil Procedure

  . This motion is based upon the memorandum of law, arguments of counsel

to be presented at or before a hearing, and all of the files, records, and

proceedings herein.
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 DATED this    th day of September,

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                                  Mary Sansom, Gary Severson, and Minnesota
                                  Alliance for Retired Americans

                                  *Pro hac vice applications forthcoming
